                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                       )
                                               )
v.                                             )    CASE NO. 3:11-00249-2
                                               )    JUDGE SHARP
RASHAWN CAMPBELL                               )

                                          ORDER

       Pending before the Court is Defendant’s Motion to Continue Sentencing Hearing (Docket

No. 150) to which the Government does not oppose.

       The motion is GRANTED, and the sentencing hearing set for February 21, 2014, is

hereby continued to Friday, July 18, 2014, at 1:30 p.m.

       It is so ORDERED.


                                            KEVIN H. SHARP
                                            UNITED STATES DISTRICT JUDGE




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